  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 1 of 16 PageID #:1395




                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


SHLOMO LEIBOVITCH, et al.,

                       Plaintiffs,
                                                                     Civ. No. 08-cv-01939
               v.

THE SYRIAN ARAB REPUBLIC, et al.,

                       Defendants.




               PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                    MOTION TO COMPEL COMPLIANCE WITH
                SUBPOENAS AND CITATION TO DISCOVER ASSETS

       In support of their Motion to Compel Compliance with Rule 45 Subpoenas and Citation

to Discover Assets, Plaintiffs respectfully submit this Memorandum of Law and state as follows:

                                     Introduction and Background

       This is a judgment enforcement proceeding by plaintiffs, who are seeking to identify and

attach property of the Judgment Debtors the Islamic Republic of Iran (“Iran”) and the Iranian

Ministry of Information and Security (“MOIS”) to satisfy their judgments totaling $67,000,000.

Plaintiffs are the victims of a terrorist shooting attack carried out by the Palestine Islamic Jihad

terrorist organization with material support from the Judgment Debtors. As a result of the attack,

7 year old Noam Leibovitch was killed, 3 year old Shira Leibovitch suffered severe physical

injury and the remaining plaintiffs, the parents, grandparents and siblings of Noam and Shira

Leibovitch, suffered severe psychological and emotional injuries.




                                                 1
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 2 of 16 PageID #:1396




       Plaintiffs brought suit and obtained their judgments from this court pursuant to the

Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605A. DE 73 and DE 104. These

judgments were served on defendants Iran and MOIS pursuant to FSIA §1608(a)(4) on April 19,

2015. [DE 113]. By order dated August 17, 2015, this Court found that a reasonable time has

passed within the meaning of 28 U.S.C. § 1610 (c) and authorized plaintiffs to commence

judgment enforcement proceedings.

       On August 24, 2015, plaintiffs initiated supplementary proceedings in aid of judgment

enforcement against Bank of Tokyo-Mitsubishi UFJ (“BTMU”) in this Court pursuant to Federal

Rule of Civil Procedure 69 and Illinois law. [DE 128]. Declaration of Robert J. Tolchin

(“Tolchin Decl.) at ¶¶ 2-4. BTMU is a Japanese bank headquartered in Tokyo, Japan with a

physical presence in 12 U.S. States, including three bank branches (one in Chicago) and nine

other offices. Ex. H to Tolchin Decl. BTMU’s operations in the United States are significant,

representing approximately 15%-19% of BTMU’s gross profits in 2014 and aiming to become

one of the top ten U.S. banks. Exs. I-K to Tolchin Decl. BTMU’s Chicago branch is registered as

a Foreign Bank Office with the Illinois Division of Banking. Ex. F to Tolchin Decl.

       Plaintiffs served BTMU at its Chicago branch with a Citation to Discover Assets (the

“Citation”) pursuant to 735 ILCS § 5/2-1402 and Illinois Supreme Court Rule 277 with regard to

certain financial accounts maintained by it. Ex. A and D to Tolchin Decl. Plaintiffs also served

BTMU with a Federal Rule 45 Subpoena seeking production of documents related to such

accounts. Ex. B and C to Tolchin Decl.

       Both the Citation and the Subpoena specified that they concerned accounts belonging to

the judgment debtors, and any agency or instrumentality of the judgment debtors, including the

Central Bank of Iran, the Naftiran Intertrade Company, the National Iranian Oil Company and



                                               2
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 3 of 16 PageID #:1397




the National Iranian Tanker Company, defined as “Iranian Accounts”. Plaintiffs explained in a

cover letter that they were seeking information and production of documents about the Iranian

Accounts within the possession, custody or control of BTMU, including at branches outside the

United States. Tolchin Decl. ¶ 4.

       The purpose of the Citation and the Subpoena is to enable plaintiffs to discover

information about assets of the judgment debtors against which they can enforce their judgments,

either in the United States or elsewhere. The Rule 45 Subpoena contained 11 document requests

seeking basic bank account documents in BTMU’s possession, custody or control, including

documents that would inform plaintiffs as to the balances in the accounts (Request 4), the

beneficiaries and signatories on the accounts (Requests 2-3), transaction histories for the

accounts, including the identities of the recipients, beneficiaries, intermediaries and

counterparties involved in such transfers (Request 7), information about whether the accounts are

blocked pursuant to Office of Foreign Asset Control (“OFAC”) regulations (Request 11), OFAC

licenses relating to the accounts (Request 10) and correspondence between the banks and the

judgment debtors (Request 10) and the banks and OFAC relating to the accounts (Request 9).

Ex. B to the Tolchin Decl.

       The Citation contained three interrogatories also seeking basic information about the

accounts maintained by BTMU. Ex. A to the Tolchin Decl. Pursuant to Illinois Supreme Court

Rule 277(c)(3), the Citation required BTMU to produce a designated corporate officer to testify

about the aforementioned assets before the Court on September 9, 2015. BTMU did not

designate a corporate officer to appear at the hearing and instead requested an extension of time

to respond to October 9, 2015. As a courtesy, plaintiffs’ counsel agreed. The Citation hearing

was adjourned to December 9, 2015.



                                               3
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 4 of 16 PageID #:1398




       BTMU unilaterally limited its Responses and Objections, served on October 9, 2015, to

its Chicago Branch, claiming that the Court lacks personal jurisdiction over BTMU. BTMU also

objected to almost every definition and term in the Citation and Subpoena, including common

banking terms like “current account balance,” “currency”, “beneficiaries,” “transfers,” and

“intermediaries,” among others. Ex D to Tolchin Decl.

       In light of BTMU’s refusal to undertake a search for responsive documents in its

possession, custody or control, on October 21, 2015, plaintiffs served BTMU with a Rule 45

deposition subpoena, seeking a 30(b)(6) designee to testify regarding the Iranian Accounts

maintained by BTMU. Ex. F to Tolchin Decl. Plaintiffs anticipate that the 30(b)(6) deposition

will assist them with their judgment enforcement efforts and provide information to support

plaintiffs’ arguments herein concerning specific personal jurisdiction.

       Counsel conferred regarding the Citation and the document and deposition subpoenas.

While plaintiffs’ counsel was willing to discuss BTMU’s specific objections to terms and

definitions, the parties were unable to reach any agreement as to BTMU’s compliance due to

BTMU’s position that it is not subject to personal jurisdiction in this Court with regard to

documents and assets located in branches outside of Illinois. Tolchin Decl at ¶¶ 10-14. Thus,

while BTMU maintains accounts for the Judgment Debtors and is in possession, custody or

control of responsive documents, it has refused to even conduct a search for those documents.

Moreover, BTMU has refused to consent to a 30(b)(6) deposition concerning those accounts,

leaving plaintiffs with no choice but to file this Motion to Compel.

                                          ARGUMENT

       A. Plaintiffs are Entitled to Broad Judgment Enforcement Discovery Under Both
          Federal Law and Illinois State Law




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  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 5 of 16 PageID #:1399




        Judgment enforcement proceedings in Federal cases are governed by Federal Rule 69,

which provides that such proceedings must “accord with the procedure of the state where the

court is located.” Fed. R. Civ. P. 69(a)(1). Under Illinois state law, such supplementary

proceedings are governed by 735 ILCS 5/2-1402 and Illinois Supreme Court Rule 277 (“Illinois

Rule 277”). See Shales v. T. Manning Concrete, Inc., 847 F. Supp. 2d 1102, No. 11 C 1094,2012

WL 851546 (N.D. Ill. Mar. 13, 2012). “[T]he purpose of a citation proceeding … is to allow the

judgment creditor to examine a third-party ‘to discover assets or income of the debtor.’”)1 JP

Morgan Chase Bank v. PT Indah Kiat Pulp and Paper, No. 02 C 6240, 2012 WL 2254193, at *1

(N.D. Ill. June 14, 2012). Accordingly, a citation may require production of responsive

documents in the third party’s possession or control. Id. (citing Ill. Sup. Ct. R.277(c)(4)). Illinois

Rule 277 expressly authorizes both document discovery and 30(b)(6) type deposition discovery.

Ill. S. Ct. R. 277(c)(3) and (4). See also Resolution Trust Corp. v. Ruggiero, 994 F.2d 1221, 1223

(7th Cir. 1993) (noting Illinois law allows deposition testimony of third parties “regarding the

existence and whereabouts of assets that might be used to satisfy the judgment…”). In addition,

Federal Rule 69 permits the judgment creditor to obtain discovery from any person in aid of

execution via both Federal and State discovery mechanisms. Fed. R. Civ. P. 69(a).

        Both Federal Rule 69 and 735 ILCS 5/2-1402 permit broad discovery in aid of judgment

enforcement. “The rules governing discovery in post-judgment execution proceedings are quite

permissive.” Republic of Argentina v. NML Capital, Ltd., 134 S. Ct. 2250, 2254 (2014); see also

Vera v. Republic of Cuba, 91 F. Supp.3d 561, 569 (S.D.N.Y. 2015); Lumber Liquidators, Inc. v.

Sullivan, 939 F. Supp. 2d 57, 59 (D. Mass. 2013) (“Liberal discovery is afforded to judgment

creditors under Federal Rule of Civil Procedure 69(a)(2).”). The principal constraint for Rule 69

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        Service of a Citation also has the effect of creating a lien on the subject assets. Id. Citing 735
ILCS 5/2-1402(m)(1).

                                                    5
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 6 of 16 PageID #:1400




judgment enforcement discovery is that it is “calculated to assist in collecting on a judgment.”

EM, Ltd. v. Republic of Argentina, 695 F.3d 201, 208 (2nd Cir. 2012) (noting that it is not unusual

for judgment creditor to seek information concerning assets outside jurisdiction of court where

discovery request is made); Broaddus v. Shields, No. 08 C 4420, 2012 WL 1144664, at *2 (N.D.

Ill. Apr. 5, 2012) (noting that Section 2-1402 is to be “liberally construed,” giving courts “broad

powers” both for discovery and attachment).

       B. Under United States Law, Plaintiffs are Entitled to Enforce Their Judgments
          Against the Assets at Issue

       Plaintiffs’ judgments are enforceable under TRIA § 201, legislated in 2002 to enable

judgment creditors to satisfy their judgments “from the frozen assets of terrorist parties.” 148

Cong. Rec. S11528 (daily ed. Nov. 19, 2002) (statement of Sen. Harkin). TRIA § 201 uses the

term “blocked assets,” which according to the legislative history, includes

       any asset with respect to which financial transactions are prohibited or regulated by the
       U.S. Treasury under any blocking order under the [TWEA], [the IEEPA], or any
       proclamation, order, regulation or license. Id.

There is no territorial limitation under TRIA § 201. Thus, to the extent the accounts at issue are

subject to any United States blocking statute, they are subject to enforcement under the TRIA.

One of the purposes of plaintiffs’ discovery is to obtain information about whether the accounts

at issue are “blocked” within the meaning of TRIA.

       Plaintiffs’ judgments are also enforceable under FSIA § 1610(g), enacted in 2008 in a

further effort to expand the property subject to judgment enforcement against state sponsors of

terror. Section 1610(g) allows § 1605A judgment creditors, like plaintiffs, to enforce their

judgments against the “property of an agency or instrumentality” of a state sponsor of terror. 28

U.S.C. § 1610(g). As it relates to Iran, this includes the Iranian Accounts at issue here in the



                                                6
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 7 of 16 PageID #:1401




name of the Central Bank of Iran, the Naftiran Intertrade Company, the National Iranian Oil

Company and the National Iranian Tanker Company.

       Unlike §§ 1610(a) and (b) which expressly provide that they apply to “property in the

United States,” nothing in the language of § 1610(g) suggests that is limited to property in the

United States. Moreover, in addressing the interrelationship between § 1610(g) and §§ 1610(a)

and (b) on a different issue, the 7th Circuit found that § 1610(g) is independent of §§ 1610(a) and

(b) and that the limitations in §§ 1610(a) and (b) should not be read into § 1610(g). See Wyatt v.

Syria, 800 F.3d 331, 343 (7th Cir. 2015) (notice requirement in FSIA § 1610(c) does not apply to

§ 1610(g)); see also Bennett v. Islamic Republic of Iran, Case No. 13-15442 (9th Cir.

2015)(same). Therefore, § 1610(g) permits enforcement against the accounts at issue here, even

if such assets are located outside the United States.

       In any event, intangible assets, such as bank deposits have no situs and are subject to

execution wherever jurisdiction can be obtained over the judgment debtor’s debor – in this case,

the bank. See Gates v. Syrian Arab Republic, No. 11 C 8715, 2013 WL 1337241, at *2-3 (N.D.

Ill. March 29, 2013). Therefore, even if § 1610(g) were read to include a territorial limitation

(which it should not be), such limitation is satisfied here because the asset is “located” wherever

the bank is subject to jurisdiction. Id. See also Af-Cap Inc. v. Republic of Congo, 383 F.3d 361,

371-372 (5th Cir. 2004) (Situs of debt owing to foreign sovereign, for purpose of deciding

whether these payments were subject to execution under FSIA, was situs of prospective

garnishee); FG Hemisphere Associates, LLC v. Republique du Congo, 455 F.3d 575, 589-590

(5th Cir. 2006) (same).

       However, even if this Court ultimately were to find that the overseas financial accounts

about which plaintiffs seek discovery and execution are not subject to enforcement under either



                                                  7
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 8 of 16 PageID #:1402




TRIA § 201 or FSIA § 1610(g), such assets could be subject to enforcement under the law of

another jurisdiction. Accordingly, under the Supreme Court’s ruling in NML Capital, plaintiffs

are still entitled to discovery with respect to those assets. See Republic of Argentina v. NML

Capital, Ltd., 134 S. Ct. 2250 (2014) (Rule 69 discovery permitted as long as it could lead to

information about executable assets).

       C. BTMU Consented to Personal Jurisdiction in Illinois by Registering with The
          Illinois Division of Banking

       BTMU has consented to personal jurisdiction in Illinois by registering as a Foreign

Banking Corporation under Illinois banking law. Foreign Banking Corporations are governed by

the Illinois Foreign Bank Office Act which provides that in order to conduct business in Illinois,

foreign banks are “subject to the same duties, restrictions, penalties and liabilities imposed by the

Illinois Banking Act.” 205 ILCS 645/3. The Illinois Banking Act expressly provides that a bank

organized under the act has the power to sue and be sued. 205 ILCS 5/5 (emphasis added). In

addition, Sections 645/9 and 10 of the Foreign Bank Office Act require, as a condition to doing

business in Illinois, foreign banks to maintain a registered office and appoint a registered agent in

Illinois for service of process “in any suit, action or proceeding…” See also 205 ILCS 645/3.

       By designating an agent for service of process, BTMU waived any objection to personal

jurisdiction in Illinois. See, e.g., Consumer Program Adm'rs, Inc. v. K.B. Parrish & Co., L.L.P.,

No. 09 C 3731, 2009 WL 4788681, at *3 (N.D.Ill. Dec. 9, 2009) (corporation waived objection

to personal jurisdiction by designating agent for service of process in State); Emp'rs Ins. of

Wausau v. Banco De Seguros Del Estado, 199 F.3d 937, 942–43 (7th Cir. 1999) (same); See also

Otsuka Pharm. Co. v. Mylan, Inc., No. 14-4508, 2015 WL 1305764, at *8-12 (D.N.J. Mar. 23,

2015) (same for New Jersey); Forest Labs, Inc. v. Amneal Pharm., LLC, No. CV 14-508-LPS,

2015 WL 880599, at *4-11 (D. Del. Feb. 26, 2015) (same for Delaware).

                                                 8
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 9 of 16 PageID #:1403




          In a case similar to this one decided under New York law, the District Court for the

Southern District of New York found that the foreign banks who registered to do business in

New York had thereby consented to jurisdiction in New York for purposes of a judgment

enforcement proceeding. See Vera v. Cuba, 91 F. Supp. 3d at 57-71. In so holding, the court

stated:

               Contrary to BBVA's suggestions, Daimler and Gucci should not be read so
               broadly as to eliminate the necessary regulatory oversight into foreign entities that
               operate within the boundaries of the United States. There is no reason to give
               advantage to a foreign bank with a branch in New York, over a domestic bank. I
               cannot espouse a notion of jurisdiction that allows banks to hide information
               concerning assets connected to terrorism in other countries. When corporations
               receive the benefits of operating in this forum, it is critical that regulators and
               courts continue to have the power to compel information concerning their
               activities.
Id. The same reasoning applies to BTMU here.

          D. Goodyear, Daimler and Their Progeny do not Apply to Rule 69 Judgment
             Enforcement Discovery

          The Supreme Court’s decisions in Goodyear Dunlop Tire Operations, SA v. Brown, 131

S. Ct. 2846 (2011) and Daimler AG v. Bauman, 134 S. Ct. 746 (2014), are not applicable to

BTMU here. Goodyear and Daimler did not involve a discovery proceeding against a third party;

they addressed the issue of when corporations can be haled into court as a defendant subject to

liability. Here, unlike in Daimler and Goodyear, BTMU is not being sued as a defendant or

being subjected to any kind of liability. Rather, BTMU is merely a third party subpoena recipient

and the subject of Rule 69 judgment enforcement proceedings.

          Neither the Supreme Court nor the Seventh Circuit Court of Appeals have held that the

“at home” standard discussed in Goodyear and Daimler applies to a third party subpoena




                                                 9
 Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 10 of 16 PageID #:1404




recipient, which, unlike a defendant, does not face liability.2 Indeed, the Supreme Court has held

that Rule 69 affords judgment creditors with broad discovery, including of a judgment debtor’s

extraterritorial assets. Republic of Argentina v. NML Capital, Ltd., 134 S. Ct. 2250 (2014); EM,

Ltd. v. Republic of Argentina, 695 F.3d 201, 208 (2ndCir. 2012). Nothing in Daimler suggests

that the Supreme Court intended to abrogate its prior holding in NML Capital or to narrow the

scope of Rule 69 discovery. See Vera v. Cuba, 91 F. Supp.3d at 571-2 (requiring foreign bank to

respond to subpoena seeking documents about assets located outside the United States). In the

absence of any contrary binding precedent, it is appropriate for this Court to apply the traditional

pre-Goodyear/Daimler “doing business” standard.

       Applying the “at home” standard to subpoena recipients would lead to absurd results. For

example, plaintiffs or judgment creditors in an Illinois state court proceeding would be unable to

serve citations to discover assets on a third-party corporation with branch offices in Illinois, if

that corporation were not also headquartered or incorporated in Illinois. Clearly, the “at home”

standard does not apply to third parties. Due process is obviously satisfied here by the “doing

business” standard because of BTMU’s offices in Illinois and elsewhere in the U.S. In re

Automotive Refinishing Paint, 229 F.R.D. 482, 487-90 (E.D. Pa. 2005) (when a subpoena is

served in a federal case, the relevant forum for measuring the recipient’s contacts is the United

States as a whole).

       E. BTMU is Subject to Specific Personal Jurisdiction Here

       In the alternative, this Court can exercise specific personal jurisdiction over BTMU based

on the link between the documents and information sought, and BTMU’s conduct. As noted,


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        Even the Second Circuit’s decision in Gucci, which concerned the application of Daimler in a
prejudgment asset freeze context did not involve Rule 69 post-judgment enforcement proceedings. See
Gucci Am. Inc. v. Li, 768 F.3d 122 (2nd Cir. 2014). In any event, Gucci is not binding on this Court.

                                                 10
 Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 11 of 16 PageID #:1405




because this is a federal case, the forum for determining personal jurisdiction is the United States

as a whole and is not limited to the State of Illinois. See In re Auto, Refinishing Paint, 229 F.R.D.

at 487-90. In Gucci, the Second Circuit remanded and directed the district court to engage in a

specific personal jurisdiction analysis regarding the disputed subpoena. Gucci, 768 F.3d at 142.

On remand, the district court found that specific personal jurisdiction existed. Gucci Am., Inc. v.

Weixing Li, No. 10 Civ. 4974(RJS), 2015 WL 5707135, at *4 (S.D.N.Y. Sept. 29, 2015).

       Here too there is a basis to exercise specific personal jurisdiction. Plaintiffs are victims of

Iranian-sponsored terrorism who are seeking to enforce their judgments against Iranian accounts

maintained by BTMU. Iran is subject to strict U.S. sanctions precisely because of its continued

support for terrorism which harms the United States as a whole. The threat of Iranian-sponsored

terrorism to the United States was confirmed, inter alia, by Pat O’Brien, Assistant Secretary in

the U.S. Department of the Treasury, in Congressional testimony June 22, 2006. He noted the

Executive Branch’s intention to “draw on all instruments of national power to combat the very

real threat posed by Iran’s sponsorship of terrorism” and further explained that:

       At Treasury, we are focused on the support networks, trying to identify and sever the
       lines of support that fuel terrorist activities. Stopping the money flows is particularly
       challenging in this instance, as Iran draws upon a large network of state-owned banks.

Ex. L to Tolchin Decl.

       Similarly, in a 2008 Advisory, the U.S. Treasury’s Financial Crimes Enforcement

Network (FinCEN) explained the danger of Iran’s exploitation of world financial system to

evade sanctions in order to conduct terrorist financing:

       [] the Government of Iran’s continued attempts to conduct… terrorist
       financing…Through state-owned banks, the Government of Iran disguises its
       involvement in … terrorism activities through an array of deceptive practices specifically
       designed to evade detection. The Central Bank of Iran and Iranian commercial banks


                                                 11
 Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 12 of 16 PageID #:1406




       have requested that their names be removed from global transactions in order to make it
       more difficult for intermediary financial institutions to determine the true parties in the
       transaction. …

Ex. M to Tolchin Decl.

       It is Iran’s exploitation of the world financial system to further its support for terrorism

which has led it to be subject to United States sanctions. As Undersecretary of the Treasury for

Terrorism and Financial Intelligence Stuart Levey stated in July 2007:

       The [Iranian] regime does use its banks to pursue … its funding of terrorism … we in the
       United States have taken action against Bank Saderat for its role in funneling money
       from the Central Bank of Iran to terrorist organizations [including] Hezbollah … Iran
       not only uses its banks for that purpose, but also its banks engage in deceptive practices
       in order to engage in that business.

Ex. N to Tolchin Decl.

       Based on what plaintiffs know, BTMU has purposefully availed itself of banking

opportunities in the United States to conduct illegal transactions with Iran and to assist Iran to

evade U.S. sanctions. See Ex. G to Tolchin Decl. This is exactly the kind of activity that enables

Iran to support terrorism and which U.S. sanctions were designed to prevent. Such conduct

harmed the United States. Indeed, by violating U.S. sanctions, BTMU was subjected to hefty

financial fines and penalties in the United States.

       Just as BTMU’s violations of U.S. sanctions concerning Iran rendered it subject to

penalties in the United States – because such conduct impacts and harms the United States – such

conduct also renders it subject to the jurisdiction of United States courts to produce documents

and information related to its provision of financial services to Iran. As stated above, plaintiffs

are not seeking to hold BTMU liable as a defendant in a U.S. court, but are simply attempting to

obtain discovery concerning the Judgment Debtors’ assets.



                                                 12
  Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 13 of 16 PageID #:1407




        Ultimately, the issue of specific personal jurisdiction is inextricably bound up with the

merits of plaintiffs’ discovery requests, i.e., with the question of which documents, information

and assets BTMU is holding. Therefore, alternatively, if the Court has any doubts about its

jurisdiction over BTMU, it should order BTMU to produce documents, either in camera or

subject to a confidentiality agreement, concerning the financial services it provides or provided

the Iranian entities specified herein. See Univ. of Illinois v. Total Commc’ns Sys. Co., No. 85 C

8565, 1986 WL 9179 (N.D. Ill. Aug. 15, 1986) (where personal jurisdiction is intertwined with

facts of the merits, proof of jurisdiction may be left for trial). After viewing the documents, the

Court will be able to determine whether it has specific personal jurisdiction over BTMU.

        Or, further in the alternative, BTMU should be ordered to produce a witness pursuant to

plaintiffs’ Rule 30(b)(6) request, who will testify regarding documents, information and assets

that BTMU is holding to the extent necessary to determine the jurisdictional question. It is

elementary that a court has jurisdiction to determine its own jurisdiction; and since jurisdictional

discovery is permitted and proper even in a suit to determine liability, all the more so here where

liability is not an issue.

        F. The Court should compel BTMU’s Compliance with the 30(b)(6) Deposition
           Subpoena

        Finally, BTMU should be compelled to comply with the deposition subpoena served on it

on October 21, 2015 pursuant to Federal Rules 45, 69 and 30(b)(6). The deposition subpoena

seeks testimony from a designated corporate officer about the financial accounts maintained by

BTMU for the following specified entities – Iran, Central Bank of Iran, the Naftiran Intertrade

Company, the National Iranian Oil Company and the National Iranian Tanker Company. Such

testimony will assist plaintiffs to identify assets against which they may enforce their judgments and

to proceed against those assets.

                                                 13
 Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 14 of 16 PageID #:1408




       BTMU is subject to this Court’s jurisdiction because it operates a branch office in Chicago.

See Wultz v. Bank of China, Ltd., 298 F.R.D. 91, 98 (S.D.N.Y. 2014) (ordering non-party Israeli

bank with to comply with Rule 45 subpoena seeking 30(b)(6) witness served on its New York

branch). BTMU is an entity on which the Rule 30(b)(6) testimonial Subpoena was served, and it

operates in Illinois and was properly served on its Chicago branch. If BTMU does not have a

knowledgeable witness in Chicago, Rule 30(b)(6) requires BTMU to “educate its designee

concerning all ‘reasonably available’ information, even if such information is not within the

knowledge of the corporation’s current employees.” Chicago Regional Council of Carpenters

Pension Fund v. Woodlawn Cmty.Dev. Corp., No. 09 CV 3983, 2011 WL 6318605, at *4 (N.D. Ill.

Dec. 15, 2011) (sanctioning party for failing to prepare its 30(b)(6) witness); Buycks-Roberson v.

Citibank Fed. Sav. Bank, 162 F.R.D. 338, 343 (N.D. Ill. 1995) (party should have prepared its

30(b)(6) witness); see also Coryn Group II, LLC v. O.C. Seacrets, Inc., 265 F.R.D. 235, 238 (D.

Md. 2010) (“[T]he corporation is expected to create a witness…with knowledge, and in so doing

must make a good faith effort to find out the relevant facts – to collect information, review

documents, and interview employees with personal knowledge.”); Ecclesiastes 9:10-11-12, Inc. v.

LMC Holding Co., 497 F.3d 1135, 1146-47 (10th Cir. 2007) (discussing requirement to educate

corporate designee.).

       In Wultz, the District Court for the Southern District of New York ordered a non-party

Israeli bank with a branch office in New York to designate a 30(b)(6) witness in response to a Rule

45 subpoena. Wultz, 298 F.R.D. at 98.The Court rejected the bank’s argument that it could not be

required to produce a witness where the only witness with knowledge was located in Israel. Id. The

court held that the bank was required to educate a witness in New York, stating: “A person in New

York can easily be educated by a person in Israel by telephone, email or videoconference…” Id.



                                                14
 Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 15 of 16 PageID #:1409




The court also noted that the parties could conduct the deposition by videoconference. Here, too,

BTMU can easily educate its witness in Chicago. Alternatively, plaintiffs have no objection to

taking the deposition in New York or by videoconference if that would be more convenient for

BTMU. See Comm-Tract Corp. v. N. Telecom, Inc., 168 F.R.D. 4 (D. Mass. 1996) (modifying Rule

45 deposition subpoena to require third party witness to submit to videotape deposition in Hong

Kong); see also Matthias Jans & Assoc., Ltd. v. Dropic, No. 01-MC-26, 2001 WL 1661473 at *3

(W.D. Mich. April 9, 2001) (modifying subpoena to require recipient to appear “at a place to be

agreed upon by all counsel, no greater than 100 miles” from her residence).

       BTMU has not only refused to search for and produce responsive documents in its

possession custody and control, but it is refusing to designate a 30(b)(6) witness to testify with

regard to the Judgment Debtors’ accounts, leaving plaintiffs with no recourse.

       E. Conclusion

       Based on the foregoing, plaintiffs respectfully request that the Court grant the Motion to

Compel.



Dated: October 30, 2015                               Respectfully submitted,


                                                      _____________________
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                                                 15
 Case: 1:08-cv-01939 Document #: 155 Filed: 10/30/15 Page 16 of 16 PageID #:1410




                                          CERTIFICATION

          I hereby certify that on October 30, 2015, this motion was served via ECF on all counsel of

record.




                                                                /s/ Robert J. Tolchin
                                                                _____________________




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